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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT

________________________________
EDIBLE ARRANGEMENTS, LLC and )
EDIBLE ARRANGEMENTS              )
INTERNATIONAL, LLC,              )
                                 )
                Plaintiffs,      )              Civil Action No. 3:14-cv-00250-VLB
                                 )
v.                               )              October 10, 2014
                                 )
PROVIDE COMMERCE, INC.,          )
                                 )
                Defendant.       )


                         STIPULATED PROTECTIVE ORDER

      To protect confidential business and trade secret information consistent

with the public’s right of access to the Court’s records and processes, the parties

stipulate and the Court hereby enters the following Protective Order pursuant to

Fed. R. Civ. P. 26(c):

      1.     The    following   shall   apply   to   any   documents,   answers      to

interrogatories, responses to requests for admission, deposition testimony,

deposition transcripts and exhibits, other responses to requests for information

and/or other written information, produced in response to discovery requests in

this litigation by any party or third-party pursuant to Federal and Local Rules of

Civil Procedure governing disclosure and discovery.

      2.     Information, documents, and other materials may be designated by

the producing party in the manner permitted (“the Designating Person”). All such

information, documents, excerpts from documents, and other materials will

constitute “Designated Material” under this Order. The designation shall be either
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(a) “CONFIDENTIAL” or (b) “CONFIDENTIAL-ATTORNEYS’ EYES ONLY.” This

Order shall apply to Designated Material produced by any party or third-party in

this action.

      3.       “CONFIDENTIAL” information means information, documents, or

things that the disclosing party reasonably and in good faith believes not to be in

the public domain and contains any strategic, research, development, or

commercial information.

      4.       “CONFIDENTIAL-ATTORNEY’S EYES ONLY” means confidential

information that the disclosing party reasonably and in good faith believes is so

highly sensitive that its disclosure to a competitor could result in significant

competitive or commercial disadvantage to the designating party.

      5.       Designated Material shall not be used or disclosed for any purpose

other than the litigation of this action and may be disclosed only as follows:

      a.       Parties: Material designated “CONFIDENTIAL” may be disclosed to

parties to this action or directors, officers and employees of parties to this action,

who have a legitimate need to see the information in connection with their

responsibilities for overseeing the litigation or assisting counsel in preparing the

action for trial or settlement.

      b.       Witnesses    or    Prospective    Witnesses:     Material    designated

“CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” may be

disclosed to a witness or prospective witness in this action, but only for purposes

of testimony or preparation of testimony in this case, whether at trial, hearing, or

deposition, but it may not be retained by the witness or prospective witness. Before



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material designated “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” is disclosed for this purpose, each such person must agree to be bound by

this Order, by signing a document substantially in the form of Exhibit A.

      c.     Outside     Experts:   Material   designated      “CONFIDENTIAL”     or

“CONFIDENTIAL-ATTORNEYS’ EYES ONLY” may be disclosed to an outside expert

for the purpose of obtaining the expert’s assistance in the litigation. Before

material designated “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” is disclosed for this purpose, each such person must agree to be bound by

this Order, by signing a document substantially in the form of Exhibit A.

      d.     Counsel: Material designated “CONFIDENTIAL” may be disclosed to

counsel of record for parties to this action and their associates, paralegals, and

regularly employed office staff. Material designated CONFIDENTIAL ATTORNEYS’

EYES ONLY may only be disclosed to outside counsel of record for parties to this

action and their associates, paralegals and regularly employed office staff.

      e.     Other     Persons:     Material   designated      “CONFIDENTIAL”     or

“CONFIDENTIAL-ATTORNEYS’ EYES ONLY” may be provided as necessary to

copying services, translators, and litigation support firms.

      6.     Prior to disclosing or displaying any Designated Material to any

person, counsel shall:

      a.     Inform the person of the confidential nature of the Designated Material;

and




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      b.     Inform the person that this Court has enjoined the use of the

Designated Material by him/her for any purpose other than this litigation and has

enjoined the disclosure of that information or documents to any other person.

      7.     The confidential information may be displayed to and discussed with

the persons identified in Paragraphs 5(b) and (c) only on the condition that, prior to

any such display or discussion, each such person shall be asked to sign an agreement

to be bound by this Order in the form attached hereto as Exhibit A. In the event such

person refuses to sign an agreement in substantially the form attached as Exhibit A,

the party desiring to disclose the confidential information may seek appropriate relief

from the Court.

      8.     A person having custody of Designated Material shall maintain it in a

manner that limits access to the Designated Material to persons permitted such

access under this Order.

      9.     Counsel shall maintain a collection of all signed documents by which

persons have agreed to be bound by this Order.

      10.    Documents shall be designated by stamping or otherwise marking the

documents     with   the   words     “CONFIDENTIAL”       or   “CONFIDENTIAL-FOR

ATTORNEYS’ EYES ONLY” thus clearly identifying the category of Designated

Material for which protection is sought under the terms of this Order. Designated

Material not reduced to documentary form shall be designated by the producing

party in a reasonably equivalent way.




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        11.   The parties will use reasonable care to avoid designating as

confidential documents or information that does not need to be designated as

such.

        12.   A party may submit a request in writing to the party who produced

Designated Material that the designation be modified or withdrawn. If the

Designating Person does not agree to the redesignation within fifteen business

days, the objecting party may apply to the Court for relief. Upon any such

application; the burden shall be on the Designating Person to show why the

designation is proper. Before serving a written challenge, the objecting party must

attempt in good faith to meet and confer with the Designating Person in an effort

to resolve the matter. The Court may award sanctions if it finds that a party's

position was taken without substantial justification.

        13.   Deposition transcripts or portions thereof may be designated either

(a) when the testimony is recorded, or (b) by written notice to all counsel of record,

given within ten business days after the Designating Person's receipt of the

transcript in which case all counsel receiving such notice shall be responsible for

marking the copies of the designated transcript or portion thereof in their

possession or control as directed by the Designating Person. Pending expiration

of the ten business days, the deposition transcript shall be treated as designated.

When testimony is designated at a deposition, the Designating Person may exclude

from the deposition all persons other than those to whom the Designated Material

may be disclosed under paragraph 5 of this Order. Any party may mark Designated

Material as a deposition exhibit, provided the deposition witness is one to whom



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the exhibit may be disclosed under paragraph 5 of this Order and the exhibit and

related transcript pages receive the same confidentiality designation as the original

Designated Material.

      14.    Any Designated Material which becomes part of an official judicial

proceeding or which is filed with the Court is public. Such Designated Material will

be sealed by the Court only upon motion and in accordance with applicable law,

including Rule 5(e) of the Local Rules of this Court. This Protective Order does not

provide for the automatic sealing of such Designated Material. If it becomes

necessary to file Designated Material with the Court, a party must comply with

Local Civil Rule 5 by moving to file the Designated Material under seal.

      15.    Filing pleadings or other papers disclosing or containing Designated

Material does not waive the designated status of the material. The Court will

determine how Designated Material will be treated during trial and other

proceedings as it deems appropriate.

      16.    Upon final termination of this action, all Designated Material and

copies thereof shall be returned promptly (and in no event later than forty-five (45)

days after entry of final judgment), returned to the producing party, or certified as

destroyed to counsel of record for the party that produced the Designated Material,

or, in the case of deposition testimony regarding designated exhibits, counsel of

record for the Designating Person. Alternatively, the receiving party shall provide

to the Designating Person a certification that all such materials have been

destroyed.




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      17.    Inadvertent production of confidential material prior to its designation

as such in accordance with this Order shall not be deemed a waiver of a claim of

confidentiality. Any such error shall be corrected within a reasonable time.

      18.    Nothing in this Order shall require disclosure of information protected

by the attorney-client privilege, or other privilege or immunity, and the inadvertent

production of such information shall not operate as a waiver. If a Designating Party

becomes aware that it has inadvertently produced information protected by the

attorney-client privilege, or other privilege or immunity, the Designating Party will

promptly notify each receiving party in writing of the inadvertent production. When

a party receives notice of such inadvertent production, it shall return all copies of

inadvertently produced material within three business days. Any notes or

summaries referring or relating to any such inadvertently produced material

subject to claim of privilege or immunity shall be destroyed forthwith. Nothing

herein shall prevent the receiving party from challenging the propriety of the

attorney-client privilege or work product immunity or other applicable privilege

designation by submitting a challenge to the Court. The Designating Party bears

the burden of establishing the privileged nature of any inadvertently produced

information or material. Each receiving party shall refrain from distributing or

otherwise using the inadvertently disclosed information or material for any

purpose until any issue of privilege is resolved by agreement of the parties or by

the Court. Notwithstanding the foregoing, a receiving party may use the

inadvertently produced information or materials to respond to a motion by the

Designating Party seeking return or destruction of such information or materials.



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If a receiving party becomes aware that it is in receipt of information or materials

which it knows or reasonably should know is privileged, Counsel for the receiving

party shall immediately take steps to (i) stop reading such information or materials,

(ii) notify Counsel for the Designating Party of such information or materials, (iii)

collect all copies of such information or materials, (iv) return such information or

materials to the Designating Party, and (v) otherwise comport themselves with the

applicable provisions of the Rules of Professional Conduct.

      19.    The foregoing is entirely without prejudice to the right of any party to

apply to the Court for any further Protective Order relating to Designated Material;

or to object to the production of Designated Material; or to apply to the Court for

an order compelling production of Designated Material; or for modification of this

Order; or to seek any other relief from the Court.

      20.    The restrictions imposed by this Order may be modified or terminated

only by further order of the Court.




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                                     EXHIBIT A

      I have been informed by counsel that certain documents or information to be

disclosed to me in connection with the matter entitled Edible Arrangements, LLC

et al. v. Provide Commerce, Inc., No. 3:14-Civ-00250-VLB (D. Conn.) have been

designated as “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,”

pursuant to an Order of the Court.

      I hereby agree that I will not disclose any information contained in such

documents to any other person. I further agree not to use any such information

for any purpose other than this litigation.



Dated: ___________                               __________________________




Signed in the presence of:


__________________________(Attorney)




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IT IS HEREBY STIPULATED

Date: October 10, 2014               FISH & RICHARDSON P.C.

                                     __/s/ Lisa M. Martens ______
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                               Arrangements LLC and Edible
                               Arrangements International




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IT IS HEREBY ORDERED:


____________________________
Honorable Vanessa L. Bryant
United States District Judge




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                    CERTIFICATE OF ELECTRONIC SERVICE


      I hereby certify that a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing

will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic filing. Parties may access this filing through the Court’s

CM/ECF System.


                                            /s/ Mark A. Cantor

                                            Attorneys for Plaint
